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 1   STEVEN T. JAFFE, ESQ.
     Nevada Bar No. 7035
 2   sjaffe@lawhjc.com
     DANIEL C. TETREAULT, ESQ.
 3   Nevada Bar No. 011473
     dtetreault@lawhjc.com
 4
          HALL JAFFE & CLAYTON, LLP
 5              7425 Peak Drive
            Las Vegas, Nevada 89128
 6               (702) 316-4111
               Fax (702) 316-4114
 7
     Attorneys for Defendants Pinnacle Heavy Haul,
 8   Inc. dba Pinnacle Transport Group, Pinnacle
     Transportation Systems
 9
                              UNITED STATES DISTRICT COURT
10
                                         DISTRICT OF NEVADA
11
     RUTH QUIMBY,                                     CASE NO. 2:19-cv-02181-JCM-NJK
12
                                  Plaintiff,
13                                                    STIPULATION AND [PROPOSED]
     v.                                               ORDER TO DISMISS DEFENDANT
14                                                    PINNACLE TRANSPORTATION
     MICHAEL STEVENS, individually;                   SYSTEMS, INC. AND TO AMEND
15   PINNACLE HEAVY HAUL INC., dba                    CAPTION
     PINNACLE TRANSPORT GROUP, an
16   Indiana Corporation; PINNACLE
     TRANSPORTATION SYSTEMS, INC., a
17   Nevada Corporation; DOES I through X,
     inclusive; and ROE CORPORATIONS I
18   through X, inclusive,
19                                Defendants.
20

21          It is hereby stipulated by Plaintiff RUTH QUIMBY (hereinafter “Plaintiff”), by and

22   through her Counsel of Record, MICHAEL C. KANE, ESQ., BRADLEY J. MEYERS, ESQ., and

23   RICHARD A. ENGLEMANN, ESQ., of the THE702FIRM and Defendants PINNACLE HEAVY
24   HAUL, INC., erroneously named as PINNACLE HEAVY HAUL INC., dba PINNACLE
25   TRANSPORT GROUP, PINNACLE TRANSPORTATION SYSTEMS, INC., and
26   MICHAEL STEVENS (collectively “Defendants”), by and through their attorneys of record,
27   STEVEN T. JAFFE, ESQ., and DANIEL C. TETREAULT, ESQ., of the Law Firm of HALL JAFFE &
28   CLAYTON, LLP that the Complaint brought by Plaintiff as against Defendant PINNACLE
                                                  1
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 1   TRANSPORTATION SYSTEMS, INC. only be dismissed with prejudice pursuant to FRCP

 2   41(a)(1)(A)(ii). The parties further stipulate that each party to this Stipulation of dismissal bear

 3   their own attorney’s fees, expenses and costs relating to the prosecution and defense of this

 4   case relating to Defendant PINNACLE TRANSPORTATION SYSTEMS, INC., only.

 5          It is further stipulated that pursuant to FRCP 10, which in pertinent part, “[e]very

 6   pleading must have a caption with the court’s name, a title, a file number, and a Rule 7(a)

 7   designation. The title of the complaint must name all the parties.” In the case at bar, Defendant

 8   PINNACLE HEAVY HAUL INC., was erroneously named as PINNACLE HEAVY HAUL

 9   INC., dba PINNACLE TRANSPORT GROUP. The parties therefore stipulate and request the

10   Court allow amend of the caption to read as follows: RUTH QUIMBY, Plaintiff v. MICHAEL

11   STEVENS, individually; PINNACLE HEAVY HAUL INC., an Indiana Corporation, DOES I

12   through X, inclusive; and ROE CORPORATIONS I through X, inclusive.

13   IT IS SO STIPULATED.

14    Dated this 30th day of September 2020.       DATED 10th day of September 2020.
15   THE702FIRM                                    HALL JAFFE & CLAYTON, LLP

16   /s/ Richard Englemann                         /s/ Steven T. Jaffe
17   _____________________________                 _________________________________
     MICHAEL C. KANE, ESQ.                         STEVEN T. JAFFE, ESQ.
18   Nevada Bar No. 10096                          Nevada Bar No. 7035
     BRADLEY J. MYERS, ESQ.                        DANIEL C. TETREAULT, ESQ.
19   Nevada Bar No. 8857                           Nevada Bar No. 11473
     RICHARD A. ENGLEMANN, ESQ.                    7425 Peak Drive
20
     Nevada Bar No. 6965                           Las Vegas, Nevada 89128
21   Attorneys for Plaintiff                       Attorneys for Defendants

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 1                                      [PROPOSED] ORDER
 2         Pursuant to the Stipulation of the Parties, and good cause appearing, the Complaint
 3
     brought by Plaintiff only as against PINNACLE TRANSPORTATION SYSTEMS, INC.,
 4
     should be dismissed with prejudice pursuant to FRCP 41(a)(1)(A)(ii). The parties shall bear
 5
     their own attorneys’ fees, expenses and costs relating to the prosecution and defense of this
 6

 7   case relating to defendant PINNACLE TRANSPORTATION SYSTEMS, INC., only.

 8          Pursuant to the Stipulation of the Parties, and good cause appearing, the it is further

 9   ordered that pursuant to FRCP 10, the case caption shall be amended to read as follows:
10
     RUTH QUIMBY, Plaintiff v. MICHAEL STEVENS, individually; PINNACLE HEAVY
11
     HAUL INC., an Indiana Corporation, DOES I through X, inclusive; and ROE
12
     CORPORATIONS I through X, inclusive.
13
           IT IS SO ORDERED.
14

15                 October 2, 2020.
           Dated: _________________________
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                                          ______________________________________________
19                                        UNITED STATES DISTRICT COURT JUDGE

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